 1 IIRANDY S. GROSSMAN
                                                                    t::: 11
                                                                    I     i;
                                                                                     FD
                                                                               .,:¢;1,.~ ,~• ..
     United States Attorney
 2IIELIZABET F. BROWN
     Assistant U.S. Attorney
                                                               /.--J-ut.-2_6 z_ozz /
 3 llvirginia Bar No. 95709
     United States Attorney's Office
 411880 Front Street, Room 6293                              C-.t...14'\ •, .S 01,:, TRICT COURT
                                                         c;n1_,T.~ f: :=,•. ,) ISTHIC 1 OF CALIFORNI
     San Diego, California 92101-8893
 5IITelephone (619) 546-8921                            BY                                            DEPU
     Email: Elizabet.Brown2@usdoj.gov
 6
   11Attorneys for Plaintiff
 7 UNITED STATES OF AMERICA
 8                          OlllTBD STABS DISTlUC'l' COURT
 9                        SOOTBDR DISTRIC'l' OJ!' CALl:J!"OBHIA
10                                                               22CR1357-JLS
      UNITED STATES OF AMERICA,                   Case No.
                                                                        22MJ1777,
11                          Plaintiff,
                                                  PLEA AGRBBIIIDl'1'
12         v.
                                                     (Pre-Indictment
13 11 LISA ANN WILSON,                                Fast-Track Program)
14                          Defendant.
15

16         IT IS HEREBY AGREED between the plaintiff, UNITED STATES OF AMERICA,

17 llthrough its counsel,    Randy S.    Grossman,    United States Attorney,                              and

18   Elizabet F. Brown, Assistant Un i ted States Attorney, and defendant LISA

19IIANN WILSON, with the advice and consent of Gerard Wasson, counsel for

20lldefendant, as follows:

21 11I I
22   II
23   II
24   II
25   II
26   II
27   II
28   EFB:lml:5128122

                                                                Def. Initials                     ,   i-    v
                                                                                                  =
 1                                             :I

 2                                        TD PI.KA

 3       A.     THE CHARGE

 4       Defendant agrees to waive Indictment and plead guilty to a two-count

 5   Information charging defendant with:

 6                                         Count 1
 7       On or about May 18, 2022, within the Southern District of
         California, defendant LISA ANN WILSON, did knowingly and
 8       intentionally import a mixture and substance containing a
         detectable    amount   of    N-phenyl-N-[1-{2-phenylethyl)-4-
 9       piperidinyl] propanamide (commonly known as fentanyl), a
         Schedule II Controlled Substance, into the United States from
10       a place outside thereof;      in violation of Title 21,
         United States Code, Sections 952 and 960.
11
                                           Count 2
12
         On or about May 18, 2022, within the Southern District of
13       California, defendant LISA ANN WISLON, did knowingly and
         intentionally import a mixture and substance containing a
14       detectable amount of cocaine,   a Schedule II Controlled
         Substance, into the United States from a place outside
15       thereof; in violation of Title 21, United States Code,
         Sections 952 and 960.
16
17        B.    EARLY DISPOSITION (FAST-TRACK) PROGRAM

18        The disposition contemplated by this plea agreement is pursuant to
1 911 an early dispos i tion    (Fast-Track)    program authorized by the Attorney
20 IIGeneral of the United States and the United States Attorney for the

21 II Southern District of California .

22        In   return    for   the   concessions      made   by the   Government herein,

23IIDefendant agrees further as follows:

24              1.      Defendant will     not   file  any substantive motions
                         (including those described in Fed. R. Crim. P. 12, other
25                      than motions seeking bail review); and
26              2.      Upon acceptance of           Defendant's guilty plea by the
                        District Court, and          not withstanding any preservation
27                      order(s) entered by         the District Court, the Government
                        need not hold or            preserve any evidence seized in
28                      connection with this        case, including but not l i m ~ ~ :

                                               2                  Def. I n i t i a ~
                                                                  22CR_ _ _ _ _--::_--::_-::.-::.-=_
                       a. Any cellular device(s);
 1
                       b. Any vehicle(s); and
 2
                       c. Any controlled substance(s), except sample amounts for
 3                        confirmatory testing.
 4         c.     FORFEITURE

 5         Defendant    further   agrees    to    the   administrati ve    and/or   civil

 6llforfeiture of all properties seized in connection with this case which

 7 Uthe defendant agrees are subject to forfeiture to the Un i ted States

 8 llpursuant to 21 U.S.C. § 881.      Defendant further waives defendant's right

 9llto receive timely notice of administrative forfeiture as set forth in

101118 U.S.C.     § 983(a)   and waives r eceipt of all notice of forfeiture in

11   II this and a l l other administrative and c i v i l       proceedings.   Defendant

12 llwaives and disclaims defendant's interest, if any, in the properti es to

13 Ube forfeited as described above.        Defendant further agrees not to contest

14 Uor to assist any other person o r entity in contesting the forfeiture of

15llthe property(ies) seized in connection with this case.

16         D.     NON-PROSECUTION OF OFFENSE CARRYING MANDATORY MINIMUM PENALTY

17         The Government agrees not to prosecute defendant wi th an offense

18 Uunder Title 21 that carries a mandatory minimum sentence for the conduct

19 II described here i n unless defendant        breaches the plea agreement or the

20llguilty plea entered pursuant to this plea agreement is set aside for

21 llany reason. If defendant breaches thi s agreement or the guilty plea is

22 Uset as i de, Section XII below shall apply.


2311                                            :II
24                                l!IA'l'ORB OF 'lBE OFFIDISB

25         A.     ELEMENTS EXPLAINED

26          The offense to which defendant is pleading guilty has the fo l lowing

27 II elements:

28                1.   Defendant knowingly brought fentanyl and cocaine~·ntoe
                       United States from a place outside the United Sta ·ad
                                            3             Def . Initials
                                                          22CR
                                                                      ----------
 1                2.      Defendant knew that it was fentanyl and cocaine, or some
                          other federally controlled substance.
 2

 3          B.    ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

 4          Defendant has fully discussed the facts of this case with defense

 Sllcounsel.      Defendant has committed each element of the crime and admits

 6llthat there is a factual basis for this guilty plea.              The following facts
 7 II are true and undisputed:

 8                1.      On or about May 18, 2022, defendant knowingly and
                          intentionally drove a vehicle from Mexico into the
 9                        United States through the San Ysidro, California, Port
                          of Entry {POE);
10
                  2.      At the time defendant applied for entry into the
11                        United States,    concealed  within   the  vehicle   was
                          approximately 1. 07 kilograms (2. 3 pounds) of fentanyl
12                        powder,    569.94   grams   of   fentanyl   pills,   and
                          2.30 kilograms (5.06 pounds) of cocaine, all Schedule II
13                        Controlled Substances; and
14                3.      At the time defendant drove the vehicle into the
                          United States through the POE, defendant knew that the
15                        vehicle contained fentanyl and cocaine, or some other
                          federally    controlled    substance,    and    defendant
16                        intentionally brought these drugs into the United States.
17
                                               III
18
                                           PDALTD:S
19
            The   crime    to   which   defendant    is   pleading   guilty   carries   the
20
      following penalties as to Count 1 and Count 2:
21
            A.    A maximum 20 years in prison;
22
            B.    A maximum $1,000,000 fine;
23
            C.    A mandatory special assessment of $100.00 per count;
24
            D.    A term of supervised release of at least 3 years and up to
25                life. Defendant understands that failure to comply with any
                  of the conditions of supervised release may result in
26                revocation of supervised release, requiring defendant to serve
                  in prison, upon any such revocation, all or part of the
27                statutory maximum term of supervised release for the offense
                  that resulted in such term of supervised release; and
28 11 / /

                                                4                Def. I n i t i a l s b /
                                                                 22CR._ _ _ _ _ _ _ __
            E.    Possible ineligibility for certain Federal benefits.
 1
                                                  IV
 2
                            DBFBIIDAlft''S WlUVICR 01!' 'l'lUAL RIGHTS
 3                          .um tDIDBRSTANDDJG OJI' COHSBQUBRCBS
 4
            This guilty plea waives defendant's right at trial to:
 5
            A.    Continue to plead not guilty and require the Government to
 6                prove the elements of the crime beyond a reasonable doubt;
 7          B.    A speedy and public trial by jury;

 8          C.    The assistance of counsel at all stages of trial;
 9          D.    Confront and cross-examine adverse witnesses;
10          E.    Testify and present evidence and to have witnesses testify on
                  behalf of defendant; and
11
            F.    Not testify or have any adverse inferences drawn from the
12                failure to testify.
13                                                V

14                  DBJ!'BNDAH'.r ACD0NLEDGBS HO PRB'l'lUAL llGB'r '.rO BB
            PBOVD>BD Wl:'.rll DIPDCIDIBN'.r AND Al!'FIRMA'.rIVE DU'BNSB D1F'ORNA'.rIOH
15

16          Any information establishing the factual innocence of defendant

17llknown to the undersigned prosecutor in this case has been turned over

lBllto defendant. The Government will continue to provide such information
19llestablishing the factual innocence of defendant.

2011        If this case proceeded to trial, the Government would be required

2lllto provide impeachment information for its witnesses. In addition, if

22 lldefendant     raised   an    affirmative      defense,   the    Government     would      be

23llrequired to provide information in its possession that supports such a
24 lldefense.     By   pleading    guilty,      defendant   will    not   be   provided   this

25llinformation, if any, and defendant waives any right to this information.

26 II Defendant will     not     attempt   to    withdraw   the    guilty   plea   or   file    a
27 II collateral attack on the existence of this information.

2a 11 / /

                                                   5
                                                                    22CR      -w--R,;
                                                                    Def. I n i t i a ~
                                                                          _____ ls    ....:__
                                                VJ:
 1
                         DBJ!'BIIDD.r'S BBPRBSBlll"l'llIOH ~ GOIL'l'Y
 2                             Pm IS DiOIIIRG MID VOLOll'J.'ARY

 3       Defendant represents that:
 4       A.     Defendant has had a full opportunity to discuss all the facts
                and circumstances of this case with defense counsel and has a
 5              clear understanding of the charges and the consequences of
                this plea. By pleading guilty, defendant may be giving up, and
 6              rendered ineligible to receive, valuable government benefits
                and civic rights, such as the right to vote, the right to
 7              possess a firearm, the right to hold office, and the right to
                serve on a jury. The conviction in this case may subject
 8              defendant to various collateral consequences, including but
                not limited to revocation of probation, parole, or supervised
 9              release   in   another   case;   debarment   from   government
                contracting; and suspension or revocation of a professional
10              license, none of which can serve as grounds to withdraw
                Defendant's guilty plea;
11
         B.     No one has made any promises or offered any rewards in return
12              for this guilty plea, other than those contained in this
                agreement or otherwise disclosed to the court;
13
         C.     No one has threatened defendant              or defendant's     family       to
14              induce this guilty plea; and
15        D.    Defendant is pleading guilty because defendant is guilty and
                for no other reason.
16
                                               VJ:1
17
                      AGRBBNBll'1' LDII'l'BD TO 'O'.S. A'l.".rORREY'S OFFICE,
18 II                         i:>W:l'B&Rill D1S'1'R1CT OF CAL11'0Rlll1A
19 II     This plea agreement is limited to the United States Attorney's

20 IIOffice for the Southern District of California and cannot bind any other

2lllauthorities in any type of matter,               although the Government will bring

22 II this plea agreement to the attention of other authorities if requested

23 II by defendant.

24                                            VJ:II

25                        llPL1CABIL1'l'Y 01' SBH"l'DICING GtJIDBLIRBS

26        The sentence imposed will be based on the factors set forth in

271118 U.S.C.   §   3553(a).         In imposing the sentence,      the sentencing judge

28llmust consult the United States Sentencing Guidelines                  (Guidelines)       and
                                                                                 ~       ·   -)
                                                 6                Def. Initials      ~,_;.t
                                                                  22CR
                                                                       --------
 1 II take them into account.            Defendant has discussed the Guidelines with

 2 lldefense counsel and understands that the Guidelines are only advi sory,

 3 II not mandatory .          The Court may impose a sentence more severe or less

 4 II severe than otherwise applicable under the Guidelines, up to the maximum

 Sllin the statute of conviction.              The sentence cannot be determined until

 6lla presentence report is prepared by the U.S. Probation Office and defense

 7 II counsel and the Government have an opportunity to review and challenge

 8 Uthe presentence report.             Defendant   •qr-•       to request that a preaentence
 9 II report      be    prepared.      Nothi ng   in     this    plea   agreement   limits   the

l0IIGovernment's duty to provide complete and accurate facts to the district

11 II court and t h e U.S. Probation Office.

1211                                                IX

13 II                       SBll1'l'JDJCB IS WITHIN SOLB DISCRffION OF JODGB

1411       This plea agreement is made pursuant to Federal Rule of Criminal

15 IIProcedure ll{ c) (1) {B) .        The sen tence is within the sole discretion of

16 II the sentenc i ng judge who may i mpose the maximum sentence provided by

17 II statute .        It   is uncertain at this time what defendant's sentence will

18 llbe.   The Government has not made and will not make any representation

19 flas to what sentence defendant wi l l receive .              Any estimate of the probab l e

20 II sentence by defense counsel is not a promise and is not binding on the

2111~-            Any recommendati on made by the Government at sentencing is also

22 Unot binding on the Court.              If the sentencing judge does not follow any

23 llof the parties' sentencing recommendations, defendant will not withdraw

24tlthe plea.


2511                                             X
26                              PARTIES' SBRTBRCING RBCOMNDDATIONS

27         A.          SENTENCING GUIDELINE CALCULATIONS

28

                                                    7                   Def . Initials   ~~
                                                                                          ' 1 l
                                                                        2 2CR
 1           Although the Guidelines are only advisory and just one factor the
 2IICourt will consider under 18 U. S.C. § 3553(a)                        in imposing a sentence,

 3llthe parties will jointly recommend the following Base Offense Level,

 4IISpecific Offense Characteristics, Adjustments, and Departures:

 5                  1.          Base Offense Level [USSG         §   201.1]                 32
                                                                                                 1
                                                                                                     *
 6                  2.          Safety Valve (if applicable)                                -2**
                                [§§ 201 .1 (b) (18) and 5Cl.2]
 7
                     3.         Acceptance of Responsibility[§ 3El.1)                       -3
 8
                     4.         Departure for Fast Track [§ 5K3.1]                          -4***
 9

10           *The actual Baae Offen- Level (BOL) cannot be deteaained until a

11   II laboratory        baa      perfonied a     chemical      analyaia     of   a   sample            of   the

12     controlled substance (a) , so thia calculation is subject to change. At

13 II aantencing, the parties will recClllllleDd a BOL conaiatent with the reaul ts

14     of the laboratory testing of the aa:mple and the -ight of the controlled
15     aubatance(a)          aa detel:Dli.ned at the t1- of defendant' a arrest                           (after

16     first incorporating a 10% reduction in the overall weight to reflect a

17     reduction in the weight for packaging and other conaiderationa) .                                       If
18     defendant        ia    deteaained to be a              career offender pursuant               to USSG
19     S 481. 1 (a) ,        the   app1:l..cab1e   base   offense     1eve1    aba11   be   detazmi.ned

20     pursuant to USSG S 4B1 .1 (b) .             !'urthezmore, defendant will be ineligible
21     for any role reduction.
22           **If defendant - t s the requirements for Safety Valva aa provided
23     under USSG SS 2Dl.l(b) (18) and SCl.2 or meets the requir-.nta under

24     USSG S 5Cl. 2 (a) (2)- (5) and the criminal history requiranenta aa provided
25

26
          1
2711           Reflecting 1.07 kilograms of fentanyl powder, 569.94 grams of
     fentanyl pills, and 2.30 kilograms of cocaine to the converted drug
28 llweight of 4,559.85 kilograms.

                                                          8                   Def. I n i t i a l s ~
                                                                              22CR_ _ _ _ _ _ __
 1 II in the First Step Act,        the United States wi11 reccranend a two-1eve1
 2llreduction of the guida1ines.

 3         ***'l'ha Government reserves the right to reduce its raronnended
 4   II departure if defendant does not proceed to sentencing on the first date

 5 llsat by the Court, un1ess the parties agr- to a continuance or sentencing

 6    is continued on the Court's own motion.
 7         B.      ACCEPTANCE OF RESPONSIBILITY

 8         Despite paragraph A above,        the Government need not recommend an

 9 II adjustment    for Acceptance of Responsibility if defendant engages                 in

l0llconduct inconsistent with acceptance of responsibility including,                    but
11 II not limited to, the following:

12                 1.   Fails to truthfully admit a complete factual basis as
                        stated in the plea at the time the plea is entered, or
13                      falsely denies, or makes a statement inconsistent with,
                        the factual basis set forth in this agreement;
14
                   2.   Falsely denies prior criminal conduct or convictions;
15
                   3.   Is untruthful with the Government, the Court or probation
16                      officer; or
17                 4.   Breaches this plea agreement in any way.
18
           C.      FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS
19                 INCLUDING THOSE UNDER 18 U.S.C. § 3553
20         Defendant may request or recommend additional downward adjustments,

21 II departures, or variances from the Sentencing Guidelines under 18 U.S.C.
2211§ 3553.     The Government will oppose any downward adjustments, departures,

23llor variances not set forth in Section X, paragraph A above.

24
           D.      NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY
25
           The parties have~ agreement as to defendant's Criminal History
26
      Category,    except   that,   if   defendant   is   determined   to   be   a   Career
27
      Offender, the parties agree that defendant is automatically a Criminal
28
      History Category VI pursuant to USSG § 4Bl . l(b).
                                         9               Def . Initials
                                                                                 <£)",     :
                                                         22CR                        -
 1          E.      "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION

 2          The facts in the "factual basis" paragraph of this agreement are
 3lltrue and may be considered as "relevant conduct" under USSG § 1B1.3 and

 4 Has     the     nature    and    circumstances     of   the     offense     under      18    U.S.C.

 S 11§ 3553(a) (1).

 6          F.      PARTIES' RECOMMENDATIONS REGARDING CUSTODY
 7 II       The Government agrees to recommend the greater of: the low end of
 Blithe advisory Guidelines range as calculated by the Government; or the

 9lltime served in custody at the time of sentencing.

10          G.      SPECIAL ASSESSMENT AND FINE

11          The parties will jointly recommend that defendant pay a special

12llassessment in the amount of $100.00 per felony count of conviction to
13llbe paid forthwith at time of sen tencing.                 The special assessment shall

14llbe paid through the office of the Clerk of the District Court by bank

15 II or   cashier' s       check   or    money   order    made    payable     to   the        "Clerk,

16 IIUnited States District Court."

17           The    parties    will      not   recommend   imposition     of    a   fine        due       to

18 lldefendant's        limited     f i nancial   prospects       and   because     the        cost       of
19llcollection, even taking into account the Inmat~ Respons i bility Program,

20lllikely would exceed the amounts that could reasonably be expected to be

21 II collected.

22           H.     SUPERVISED RELEASE

2311         The Government is free to recommend a period of supervised release.

24IIIf the Court imposes a term of supervised release, Defendant will not

25llseek to reduce or termi nate early the term of supervised release until

26 lldefendant has          served at     least two-thirds of the            term of supervised

27 II release and has fully paid and satisfied any special assessments, fine,

28      cri minal forfeiture judgment and restitution judgment.
                                                                                                      '
                                                    10                  Def. Initials          -~
                                                                        22CR._ _ _ _ _ _ __
 1                                                          XI

 2                       DBJ'IDD)UIT 1IAIVBS APPEAL .ARD COLLATBRAL M.".rACIC

 3          Defendant waives (gives up) all rights to appeal and to collaterally

 4 II attack     every      aspect      of    the    conviction       and    sentence.         This    waiver

 5 II includes,       but   is    not    limited to,         any argument        that    the    statute of

 6llconviction         or     defendant's           prosecution      is     unconstitutional          and   any

 7 II argument that the facts of this case do not constitute the crime charged.

 8 II The only exceptions are:                (i) Defendant may appeal a custodial sentence

 9llabove        71   months;      and       (ii)    Defendant       may     collaterally      attack       the

10 II conviction or sentence on the basis that defendant received ineffective

11 II assistance of counsel. If defendant appeals, the Government may support

12 !Ion appeal the sentence or restitution order actually imposed.

1311                                                        XI:I

14   II                              BRDCB OF THE PLEA AGRBENBNT

15 II       Defendant and defendant's attorney know the terms of this agreement

16lland shall raise, before the sentencing hearing is complete, any claim

17 II that the Government has not complied with this agreement.                                 Otherwise,

18 II such claims shall be deemed waived                         (that is,    deliberately not raised
19lldespite awareness that the claim could be raised), cannot later be made

20llto any court, and if later made to a court, shall constitute a breach

21 llof this agreement.

22 II       Defendant breaches this agreement if defendant violates or fails

23 II to   perform      any      obligation         under   this     agreement.    The    following         are

24 llnon-exhaustive examples of acts constituting a breach:

25          A.        Failing to plead guilty pursuant to this agreement;
26          B.        Failing to fully accept responsibility                       as    established         in
                      Section X, paragraph B, above;
27
            c.        Failing to appear in court;
28

                                                            11                  Def. Init' 1 _ _C ) )
                                                                                22CR     ia s ~
            D.     Attempti ng to withdraw the plea;
 1
            E.     Failing to abi de by any court order related to this case;
 2
            F.     Appealing (which occurs if a notice of appeal is filed) or
 3                 col laterally attacki ng the conviction or sentence in violation
                   of Section XI of this plea agreement; or
 4
            G.     Engaging in additional criminal conduct                  from   the   time    of
 5                 arrest until the time of sentencing.
 611        If defendant breaches this plea agreement, defendant will not be
 7 liable to enforce any provisions, and the Government will be rel i eved of

 8 II all   its   obligations   under      this   plea    agreement.        For    example,     the

 9IIGovernment may proceed to sentencing but recommend a different sentence

l0llthan what it agreed to recommend above. Or the Government may pursue

11 llany    charges    including   those     that      were    dismissed,     promised     to   be

12 lldismissed, or not filed as a result of this agreement (defendant agrees

13 II that any statute of limitations relating to                   such charges      is tolled

14 II indefinitely as of the date all parties have signed this agreement;

15lldefendant also waives any double jeopardy defense to such charges). In

16lladdition, the Government may move to set aside defendant's guilty plea.

17 II Defendant may not withdraw the guilty plea based on the Government's

18 llpursuit o f remedies for defendan t's breach.

19          Additionally,   if defendant breaches thi s p l ea agreement:                ( i ) Any

20 II statements made by defendant,         under oath,         at the guilty plea hearing

21 II (before either a Magi strate Judge or a District Judge);                (ii) The factual

22llbasis statement in Section I I .Bin this agreement; and (iii) Any evidence

23llderived from such statements, are admissible against defendant in any

24 llprosecution of,      or any action against,              defendant.    This   includes the

25llprosecution of the charge(s) that is the subject of this plea agreement

26llor any charge(s) that the prosecution agreed to dismiss or not file as

27llpart of this agreement, but later pursues because of a breach by the

28 II Defendant.      Additionally,     defendant         knowingly,        voluntarily,        and

                                                  12                 Def. Initials
                                                                     22CR
                                                                                         W
                                                                            ----------
 1 II intelligently waives any argument that the statements and any evidence

 2llderived from the statements should be suppressed, cannot be used by the

 3IIGovernment, or are inadmissible under the United States Constitution,
 4llany statute, Rule 410 of the Federal Rules of Evidence, Rule ll(f)                           of

 Sllthe Federal Rules of Criminal Procedure, and any other federal rule.

 6                                                XJ:I:I

 7                          COJftDi'l'S ARD IIODJ:i'J:CATJ:011 OF AGRBEIIEN'l'

 8           This    plea   agreement    embodies     the     entire    agreement    between     the

 9llparties         and   supersedes    any   other        agreement,   written     or   oral.   No

l0llmodification of this plea agreement shall be effective unless in writing

11 II signed by all parties.

12 II                                              XXV

13 II                 DBl'D1DAl1'1' ARD cotJHSBL Jl'OLLY OHDBRS'!'Alm AGUBIID'1'

14 II        By signing this agreement, defendant certifies that defendant has

lSllread it         (or that it has been read to defendant in defendant's native

1611 language).       Defendant has discussed the terms of this agreement with

17 lldefense counsel and fully understands its meaning and effect.

18      II
19      II
20      II
21      II
22      II
23      II
24      II
25      II
26      II
27      II
28      II

                                                    13                  Def. Initials _ _ __
                                                                        22CR._ _ _ _ _ _ __
 1                                                         xv
 2                                     DBli'BNl)A)R' SA'l'J:SJi'Dm WJ:'l'B COOBSBL

 3                Defendant      has       consulted   with      counsel   and       is   satisfied   with
 4 llcounsel's representation. This is defendant's independent opinion, and

 5 lldefendant's counsel did not advise defendant about what to say in this
 6llregard.

 7                                                          Respectfully submitted,
 8                                                          RANDY S. GROSSMAN
                                                            United States Attorney
 9

10 11     ~ 11, 2022                                            f½ate1-r fZMtt 1"/
          DATED                                             ELIZABET F. BROWN
11                                                          Assistant U.S. Attorney
12
                    ? ·    C:    ',J,.Z-                    ~()~.
13 IIDATED                                                         mTwAssoN
                                                            Defense Counsel
14

15 II DI ADDJ:'l'J:011 '1'0 '1'BB !'ORBGODIG PROYJ:SJ:OHS TO WBJ:CB J: AGREE, J: S1IKAR tDIDBR



::::... ---
      PBRAL'l'Y OF PBR.:JtJRY 'l'BA'l' '1'BB FAC'l'S DI TBB "'FACTUAL BASIS" PARAGRAPH ABOVB



                     7·     C     z_ Z
                                                           ~~V ,
18IIDATED                                                   ~~
                                                            D     ndant
19
20        Approved by:
21
          /s/ Charlotte E. Kaiser
22   CHARLOTTE E. KAISER
2311 Assistant U.S. Attorney

24   II   Rev. 6/8/2021 cek/bq

25

26
27

28


                                                                                               ~
                                                           14                  Def. Initial .~
                                                                               22CR
